          Case 1:17-mj-08611-UA Document 25 Filed 12/18/17 Page 1 of 1
                                                              OR\G\NAL
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                              x
UNITED STATES OF AMERICA

             - v. -                               NOTICE OF APPEARANCE AND
                                                  REQUEST FOR ELECTRONIC
CHI PING PATRICK HO,                              NOTIFICATION
   a/k/a ~Patrick C.P. Ho," and
CHEIKH GADIO                                       17 Mag. 8611

                      Defendants.
                                              x


 TO:     Clerk of Court
         United States District Court
         Southern District of New York

         The undersigned attorney respectfully requests the Clerk to

 note his appearance in this case and to add him as a Filing User

 to whom Notices of Electronic Filing will be transmitted in this

 case.

                                      Respectfully submitted,

                                      SANDRA MOSER, Acting Chief
                                      Criminal Division, Fraud Section
                                      U.S. Department of Justice



                                by:     /s/ David A. Last ~ ~
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     Counsel for Defendant Cheikh Gadio
